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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
FARHAD AZIMA,
ALG TRANSPORTATION, INC.,
MAIN 3260 LLC,
FFV W39 LLC, and
FFV DEVELOPMENT LLC,                                      22 Civ. 8728 (PGG) (JW)

              Plaintiffs,

       - against -
                                                     MEMORANDUM OF LAW IN
DECHERT LLP,                                       OPPOSITION TO DAVID GRAHAM
DAVID NEIL GERRARD,                                 HUGHES’ MOTION TO DISMISS
DAVID GRAHAM HUGHES,
NICHOLAS DEL ROSSO,
VITAL MANAGEMENT SERVICES, INC.,
AMIT FORLIT,
INSIGHT ANALYSIS AND RESEARCH LLC,
SDC-GADOT LLC,
AMIR HANDJANI,
ANDREW FRANK, and
KARV COMMUNICATIONS,

              Defendants.

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                                PRELIMINARY STATEMENT

       Hughes is incorrect when he asserts that this Court lacks personal jurisdiction over him and

that his alleged racketeering conduct does not state a claim because he was simply acting as “an

attorney litigating on behalf of his client.” Mem. of Law in Supp. of Def. David Graham Hughes’

Mot. to Dismiss (“Hughes Br.”) at 1 (Feb. 28, 2023). But he is right when he says this is not a

close case: the Court has specific jurisdiction pursuant to both New York’s long-arm statute and

the Federal Rules of Civil Procedure. And the Complaint’s allegations are more than sufficient to

state a RICO claim against him. The Court should deny Hughes’ motion.

                       SUMMARY OF PLAINTIFFS’ ALLEGATIONS

       In 2014, Hughes and his co-defendant Neil Gerrard were among the three Dechert attorneys

accused of violating the human rights of Karam Al Sadeq, who was detained as a target of

Dechert’s investigation for its client, the Emirate of Ras Al Khaimah (“RAK”). See Compl. ¶¶ 3,

39-40, 189.1 Thus, Hughes and Gerrard also had the most to lose when Plaintiff Farhad Azima

threatened to expose the abuse. Id. ¶¶ 4, 41-42, 189.

       The Complaint makes clear that Hughes and the Enterprise fully intended to silence Azima

by ruining him financially and reputationally. Id. ¶¶ 5, 74, 223. Beginning in 2015, sensitive data

was stolen from Azima through the Enterprise—a directed hacking campaign meant to intimidate

him. Id. ¶¶ 5, 18, 20, 44-58. The Enterprise published the data on the internet, id. ¶¶ 67-68, and set

the wheels in motion for Azima to be disparaged in the press. Id. ¶¶ 80-82.

       Hughes took on a senior role in the Enterprise, working as a high-level deputy to Gerrard,

its mastermind. Id. ¶¶ 16-17, 106 & n.8. In September 2016, Hughes authored a demand letter—


1“RAK” also refers to any other RAK-related entities including the Ras Al Khaimah Investment
Authority (“RAKIA”). As with “RAK,” all other capitalized terms used herein have the same
meaning as in Plaintiffs’ Omnibus Opposition.
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written on Dechert letterhead and sent via U.S. mail and wires—threatening to sue Azima on behalf

of RAK; he attached to that letter documents clearly stolen from Azima and housed on Dechert’s

servers. Id. ¶¶ 69-71, Ex. B at line 48. When the Enterprise sued Azima in the U.K. on behalf of

RAKIA, Hughes was running the show. See id. ¶¶ 69, 98, 103, 105-06 & n.8, 110.

       And when Azima sued RAKIA in the United States seeking compensation for the data theft

(the “D.C. Proceedings”), id. ¶¶ 72, 83, Hughes not only teamed with Dechert’s New York lawyers

to defend RAK, id. ¶¶ 87, 91, 93, but, from at least 2018 to 2019, he also guided Dechert’s efforts

to obstruct those proceedings. Acting as Hughes’ agent, Linda Goldstein, then a New-York-based

partner at Dechert, presented false facts to the D.C. courts. Id. ¶¶ 94-96, 98, Ex. B at lines 57, 83,

87, 88. Hughes and Goldstein also fabricated testimony for Majdi El Halabi, who testified, falsely,

that he had innocently discovered Azima’s hacked data on the internet. See id. ¶¶ 91, 102-06, 192,

Ex. B at lines 87, 92, 119. And Hughes played a role in anonymously mailing hacked documents

to the media, including several journalists in New York, and to the D.C. court, making Azima’s

documents public, without revealing the Enterprise’s role in the disclosure. Id. ¶¶ 81, 120-24.

                                          ARGUMENT2

I.     THIS COURT HAS PERSONAL JURISDICTION OVER HUGHES.

       A.      Hughes Is Subject to Jurisdiction under New York’s Long-Arm Statute.

       Determining personal jurisdiction over a foreign defendant through the courts’ traditional

contacts-based inquiry requires two steps. Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,

732 F.3d 161, 168 (2d Cir. 2013). “First, the court must establish whether there is a statutory basis

for exercising personal jurisdiction.” Elsevier, Inc. v. Grossman, 77 F. Supp. 3d 331, 341




2Plaintiffs incorporate by reference their Opposition to Defendants’ Omnibus Motion to Dismiss
(Omnibus Opp’n). Thus, they do not repeat the standard of review. See Omnibus Opp’n at 14-16.

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(S.D.N.Y. 2015) (cleaned up). “[S]econd, the court must decide whether the exercise of

jurisdiction comports with due process.” Id. (citing Sonera Holding B.V. v. Çukurova Holding A.

S., 750 F.3d 221, 224 (2d Cir. 2014)). Both factors are met here.3

                1.      Section 302(a)(1) Applies Because Hughes Transacted Business in New
                        York.

        In relevant part, New York’s long-arm statute, N.Y.C.P.L.R. § 302(a)(1), confers

jurisdiction when (1) a defendant “transacted business within the state,” and (2) “the claim

asserted . . . arise[s] from that business activity.” Sole Resort, S.A. de C.V. v. Allure Resorts Mgmt.,

LLC, 450 F.3d 100, 103 (2d Cir. 2006). Section 302 is a “single act” statute and proof of one

transaction in New York is sufficient to invoke jurisdiction—even if the defendant never stepped

foot in the state. Best Van Lines, Inc. v. Walker, 490 F.3d 239, 248 (2d Cir. 2007).

        First, although the Complaint cites 18 U.S.C. § 1965(b) as the statutory basis for

jurisdiction over Hughes, cf. Hughes Br. at 4, a plaintiff is not obligated to cite a particular

jurisdiction-conferring statute in his complaint. See Fed. R. Civ. P. 8(a)(1) (requiring “a short and

plain statement of the grounds for the court’s jurisdiction”). In any event, Plaintiffs relied on

§§ 302(a)(1) and (a)(2) in their pre-motion letter (ECF No. 100); in federal question cases, “the

court must look . . . to the long-arm statute of the forum state” (Bensusan Rest. Corp. v. King, 126

F.3d 25, 27 (2d Cir. 1997)); and any omission in the Complaint could be resolved by amendment.

        Second, Hughes projected himself into New York by transacting business with Enterprise

members present in New York through calls, emails, and video conferences. See O’Mahoney v.

Susser, 531 F. App’x 39, 42 (2d Cir. 2013); Compl. ¶¶ 36, 98-99, 102-06, Ex. B at lines 85, 92,



3 Personal jurisdiction over a defendant may be general or specific. Because Hughes is domiciled
in the United Kingdom, he is not amenable to general jurisdiction. See Daimler AG v. Bauman,
571 U.S. 117, 137 (2014). Specific jurisdiction exists, however.

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119. Those extensive activities go well beyond the “single act” required by § 302(a)(1). From the

United Kingdom, Hughes “organiz[ed] and structur[ed] the Enterprise, coordinat[ed] and carr[ied]

out its affairs, and direct[ed] and execut[ed] its illegal acts,” id. ¶¶ 15, 17, when the Enterprise’s

center of gravity was New York. Id. ¶¶ 15 (“Gerrard and others carried on the affairs of the

Enterprise out of Dechert’s New York office”); see id. ¶¶ 18, 23-24, 29-32, 37, 54, 60, 77, 104.

Hughes led the obstruction scheme and, in that role, he worked closely with Dechert’s attorneys

in New York to marshal the “facts,” create the false narrative concerning the hacking, and present

obstructive statements to the courts. Id. ¶¶ 69-71, 91, 98-99, 102-06, 118-19, 185.

       Third, Hughes also effectuated business in New York through others, namely Linda

Goldstein, to further the Enterprise’s scheme of inflicting reputational harm and ruinous litigation

costs on Azima. Section § 302(a)(1) allows for jurisdiction if, “through an agent,” a non-

domiciliary “transacts any business within the state”; New York law provides that a co-conspirator

can be an agent. Al Thani v. Hanke, No. 20-cv-4765, 2021 WL 1895033, at *10 (S.D.N.Y. May

11, 2021). To establish co-conspirator jurisdiction, a plaintiff must (1) make a prima facie case of

conspiracy, (2) allege facts warranting an inference that the defendant was a member of the

conspiracy, (3) show the in-state agent’s transaction of business in New York, and (4) demonstrate

an agency relationship between the defendant and the agent. See id.

       Here, Plaintiffs have established a prima facie case of conspiracy. See Compl. ¶¶ 252-62;

Omnibus Opp’n at 58. Plaintiffs have also alleged facts warranting an inference that Hughes was

a member of that conspiracy. See infra pp. 10-15. Goldstein, Hughes’ New-York-based law

partner, worked in Dechert’s New York office and conducted business out of New York, including

with respect to the D.C. Proceedings. See supra p. 2. And the Complaint alleges facts showing that

Hughes and Goldstein had the requisite agency relationship—i.e., the Court can reasonably infer



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that (1) Hughes was aware of the effects of his activity in New York, (2) the activity of Dechert

and Goldstein benefitted him, and (3) Goldstein acted at the request of or on behalf of Hughes. See

Al Thani, 2021 WL 1895033, at *11.

       Hughes addresses only the third element of the agency-relationship test, challenging the

sufficiency of Plaintiffs’ allegations that he directed or controlled Goldstein. Hughes Br. at 8. The

Complaint, however, meets all three requirements. Hughes was aware that his instructions to

Dechert’s New York lawyers would result in Goldstein and Dechert filing obstructive statements.

Compl. ¶ 36, Ex. B at lines 57, 83-84, 86-88. Indeed, Hughes fed false information to Goldstein in

New York intending for her to make false submissions to the courts. Id. ¶¶ 91, 94-96, 98-99, 102-

06, 111, 118-19, 124, 192. Those false statements sought to advance the interests of the Enterprise

and RAKIA, and therefore ensured that the Enterprise’s conduct and the assault on Azima could

continue unabated. Id. ¶ 62. And Goldstein’s electronic communications with Hughes confirm that

she was acting at his direction and on his behalf. Id. ¶¶ 98-99, Ex. B at line 85. Goldstein relied on

Hughes to marshal the “facts,” id. ¶¶ 93, 98-99, 114, 118-19, and, akin to the open phone line in

Parke-Bernet Galleries, Inc. v. Franklyn, 26 N.Y.2d 13, 16 (N.Y. 1970), Hughes used Goldstein

to keep abreast of the U.S. judicial proceedings that he and his co-conspirators were intent on

obstructing. Compl. ¶¶ 98-99, 118-19, Ex. B at line 84; see Parke-Bernet Galleries, Inc., 26 N.Y.2d

at 17 (although never physically present, defendant “receiv[ed] and transmit[ed] bids over an open

telephone line and was an active participant in an auction held” in New York).4


4 To be sure, remote communications alone “are generally insufficient to confer personal
jurisdiction.” Golden Archer Invs., LLC v. Skynet Fin. Sys., No. 11-cv-3673, 2012 WL 123989, at
*4 (S.D.N.Y. Jan. 3, 2012); cf. Hughes Br. at 11 (citing Viasystems Inc. v. EBM-Papst St. Georgen
GmbH & Co., KG, 646 F.3d 589, 594 (8th Cir. 2011)). When such communications “effectuate
some purposeful business in New York,” however, “personal jurisdiction will be found.” Golden
Archer, 2012 WL 123989, at *4; see Viasystems Inc., 646 F.3d at 594 (a “deliberate” and
“substantial connection” with the state confers jurisdiction).

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       Fourth, Azima’s claims arise from these activities. Hughes purposefully worked in concert

with others in New York, including Goldstein, as part of his “active . . . immersion” in the

Enterprise. Otterbourg, Steindler, Houston & Rosen, P.C. v. Shreve City Apartments Ltd., 147

A.D.2d 327, 333 (N.Y. App. Div. 1989). Surely, Hughes cannot use Dechert’s New York lawyers,

including Goldstein, to bring about a particular result stemming from the Enterprise’s business in

New York without purposefully availing himself of the jurisdiction of the State.

       Aside from disavowing co-conspirator jurisdiction through Goldstein, Hughes says that he

cannot be subject to personal jurisdiction in New York because, he claims, he was acting as a

humble out-of-state attorney advocating on behalf of RAK. Hughes Br. at 6. But the Complaint

does not allege that Hughes projected himself into New York on behalf of RAK; he did so in the

interests of the Enterprise, by serving as one of Gerrard’s key lieutenants, propagating false

information, and facilitating the creation of false testimony. See Compl. ¶¶ 17, 62, 70, 91, 93, 98-

99, 102-06, 118-19. RAK itself has described Gerrard and other Enterprise co-conspirators as

“dishonest and unscrupulous third-party advisers who . . . advance[d] their own interests for their

own gains” (id. ¶ 201)—not mere unassuming lawyers advocating on behalf of their client.

       The very nature of this litigation also renders the cases cited by Hughes, involving run-of-

the-mill legal activities, inapposite. See Bank Brussels Lambert v. Fiddler Gonzalez & Rodriguez,

171 F.3d 779, 788 (2d Cir. 1999) (“BBL I”) (Sotomayor, J.) (no jurisdiction over Puerto Rico firm

that analyzed a New York bank transaction); Bloomgarden v. Lanza, 40 N.Y.S.3d 142, 144 (N.Y.

App. Div. 2016) (no jurisdiction in over Florida attorneys who represented plaintiffs in Florida).

In the only RICO case cited by Hughes, Pincione v. D’Alfonso, No. 10-cv-3618, 2011 WL

4089885, at *4 (S.D.N.Y. Sept. 13, 2011), the court lacked personal jurisdiction because, unlike

here, the defendants had no agents in New York.



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                2.      Section 302(a)(2) Applies Because, Through Goldstein, Hughes
                        Committed a Tortious Act in New York.

        Hughes is also subject to jurisdiction under N.Y.C.P.L.R. § 302(a)(2), which applies when

a defendant “commits a tortious act within the state” through an agent. It is enough for the

Complaint to allege that, from New York, Goldstein disseminated false statements, at Hughes’

direction, to Azima’s detriment. See Al Thani, 2021 WL 1895033, at *8 (section 302(a)(2) applied

when defendant made false statements in New York that proximately harmed plaintiff); Funk v.

Belneftekhim, No. 14-cv-0376, 2017 WL 5592676, at *10 (E.D.N.Y. Nov. 20, 2017) (similar).

        Normally, “[a] defendant’s physical presence in New York is a prerequisite to jurisdiction

under § 302(a)(2).” Elsevier, Inc., 77 F. Supp. 3d at 345. But Goldstein’s conduct—filing, from

New York, intentionally false statements in the D.C. Proceedings at Hughes’ direction (Compl. ¶¶

26, 62, 93, 102-06, Ex. B at lines 57, 84)—can be imputed to Hughes “exactly as it was in the

context of the § 302(a)(1) analysis.” See Elsevier, Inc., 77 F. Supp. 3d at 345; LaChapelle v.

Torres, 1 F. Supp. 3d 163, 169 (S.D.N.Y. 2014) (section 302(a)(2) jurisdiction extends to out-of-

state individual who “can be deemed responsible for [an in-state] tort based upon theories of

agency or conspiracy”).5

                3.      Due Process Is Satisfied.

        The due process analysis has “two related components: the ‘minimum contacts’ inquiry

and the ‘reasonableness’ inquiry.” Chloe v. Queen of Beverly Hills, LLC, 616 F.3d 158, 164 (2d

Cir. 2010). First, the court “must determine whether the defendant has sufficient contacts with the

forum state to justify the court’s exercise of personal jurisdiction.” Id. (citing Int'l Shoe Co. v. State


5 Hughes incorporates Dechert’s argument that the Court lacks jurisdiction based on a forum
selection clause. Hughes Br. at 1 & n.1. Since Hughes makes no new arguments, Plaintiffs simply
incorporate their response. See Dechert Br. at 8-16. Hughes cannot escape jurisdiction based on a
fraudulently induced agreement—with different subject matter—to which he was not a party.

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of Wash., Off. of Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945)). The court then

“ask[s] whether the assertion of personal jurisdiction comports with ‘traditional notions of fair play

and substantial justice’—[i.e.,] whether it is reasonable to exercise personal jurisdiction under the

circumstances of the particular case.” Id. (quoting Int'l Shoe, 326 U.S. at 316).

                       a.      Hughes Has Minimum Contacts with New York.

       The “assertion of personal jurisdiction over [Hughes] comports with due process for the

same reasons that it satisfies New York’s long-arm statute”—he has “purposefully availed himself

of the privilege of conducting activities within [New York].” Chloe, 616 F.3d at 171 (cleaned up).

Far from merely being copied on an email and attending a couple of meetings, Hughes Br. at 11,

Hughes “organiz[ed] and structur[ed]” the New-York-centered Enterprise, coordinated and carried

out its affairs, directed and executed its illegal acts, Compl. ¶¶ 15, 17, and fed false information to

Goldstein in New York. Id. ¶¶ 91, 98-99, 102-06. “[T]here can be no doubt that [Hughes’s] conduct

was ‘purposefully directed toward the forum State.’” Chloe, 616 F.3d at 171 (quoting Asahi Metal

Indus. Co. v. Superior Ct. of Cal., Solano Cnty., 480 U.S. 102, 112 (1987)). If that were not enough,

Goldstein’s suit-related contacts can be imputed to Hughes for due process purposes. Elsevier,

Inc., 77 F. Supp. 3d at 347. Either way, Hughes has sufficient contacts with New York.

                       b.      The Assertion of Personal Jurisdiction over Hughes Would Be
                               Reasonable.

       Next, the burden shifts to the defendant, who “must present a compelling case that the

presence of some other considerations would render jurisdiction unreasonable.” Bank Brussels

Lambert v. Fiddler Gonzalez & Rodriguez, 305 F.3d 120, 129 (2d Cir. 2002) (“BBL II”) (internal

quotation marks omitted). The Supreme Court has set forth five factors that the courts must

consider “when determining the reasonableness of a particular exercise of jurisdiction”:

       (1) the burden that the exercise of jurisdiction will impose on the defendant; (2) the
       interests of the forum state in adjudicating the case; (3) the plaintiff’s interest in

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       obtaining convenient and effective relief; (4) the interstate judicial system’s interest
       in obtaining the most efficient resolution of the controversy; and (5) the shared
       interest of the states in furthering substantive social policies.

Chloe, 616 F.3d 158 at 164 (quoting Asahi, 480 U.S. at 113).

       Hughes has not met his burden. He addresses the first factor only and, even then, he merely

indicates that he might be inconvenienced if required to travel to New York for trial. Hughes Br.

at 11. “[T]he conveniences of modern communication and transportation ease what would have

been a serious burden only a few decades ago,” however. BBL II, 305 F.3d at 129-30.6 The second

factor favors a forum in New York, which was the nerve center of the RICO Enterprise. See id. at

130. The third and fourth factors “both implicate the ease of access to evidence and the

convenience of witnesses,” id., “an issue which both supports and undermines [Hughes’] position”

given that both New York and the UK “are marked with the traces” of the Enterprise. Id. And,

fifth, “holding [Hughes] subject to jurisdiction in New York does not appear likely to erode any

shared social policies.” Id. Jurisdiction over Hughes is consistent with due process.7

       B.      Hughes Is Subject to Jurisdiction under the Federal Rules.

       Even if New York’s long-arm statute does not apply, Federal Rule of Civil Procedure

4(k)(2) provides an alternative basis for jurisdiction over Hughes. Rule 4(k)(2) provides

jurisdiction when a plaintiff demonstrates that (1) the claim arises under federal law; (2) the

defendant is not “subject to jurisdiction in any state’s courts of general jurisdiction”; and (3) the




6 See Kernan v. Kurz–Hastings., Inc., 175 F.3d 236, 244 (2d Cir. 1999) (burden on Japanese
defendant to defend suit in the United States was insufficient to overcome its minimum contacts,
particularly in light of the ease of modern travel and communication).
7 If the Court believes that jurisdictional discovery could clarify the scope of Hughes’ interactions
with New York, Plaintiffs’ allegations indicate that they “‘may be able to establish jurisdiction if
given the opportunity to develop a full factual record.’” Piotrowicz v. Techtronic Indus. N. Am.,
Inc., No. 19-cv-11522, 2021 WL 1721709, at *3 (S.D.N.Y. Apr. 30, 2021) (citation omitted).

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exercise of jurisdiction is “consistent with the United States Constitution and laws”—e.g., it

comports with due process. Porina v. Marward Shipping Co., Ltd., 521 F.3d 122, 127 (2d Cir.

2008)). A plaintiff need only make a prima facie case. Licci, 732 F.3d at 167.

       The first element is readily satisfied here as this case arises under RICO. Second, if the

Court concludes that New York’s long-arm statute does not apply, there is no indication that

Hughes, who was properly served “at his home in England” (see ECF No. 96 at 2), is subject to

jurisdiction in any state’s courts of general jurisdiction. And, third, the exercise of jurisdiction

would comport with due process. The question under Rule 4(k)(2) is whether the defendant has

the requisite aggregate contacts with the United States as a whole. Porina, 521 F.3d at 127. Hughes

does not deny having such contacts, nor could he: the Enterprise of which he was a part was aimed

at inflicting reputational harm and ruinous costs on Azima (a U.S. citizen) and his U.S.-based

entities, in the United States. See Compl. ¶¶ 9-14, 102-06, 110, 120-26, Ex. B at line 115.

II.    THE COMPLAINT STATES RICO CLAIMS AGAINST HUGHES.

       The Complaint alleges that Hughes committed numerous predicate acts: obstruction,

witness tampering, mail and wire fraud, and money laundering. Hughes, however, claims he is

somehow shielded from scrutiny because he was purportedly acting as an English solicitor in an

English legal proceeding. Hughes Brief at 1, 12-13. To the contrary, Hughes actively assisted

Gerrard in operating and managing the Enterprise.

       A.      Hughes Committed RICO Predicate Acts.

       Hughes tries to minimize the Complaint’s allegations as solely extraterritorial litigation

conduct. In reality, however, Plaintiffs allege that he played a crucial role in crafting the

Enterprise’s false story that was deployed to obstruct the D.C. Proceedings and harm Azima.




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               1.      Hughes’ Predicate Acts Were Not Mere Litigation Activity.

       Citing Butcher v. Wendt, 975 F.3d 236, 241 (2d Cir. 2020), Hughes tries to minimize the

predicate acts alleged against him as mere litigation activities. Hughes Br. at 12. Butcher, however,

is inapt. Hughes engaged in out-of-court criminal conduct and engaged in litigation in a broader,

sophisticated, and well-documented scheme. See Chevron Corp. v. Donziger, 871 F. Supp. 2d 229,

249-50 (S.D.N.Y. 2012) (RICO scheme included “not only” litigation but also fabricating

evidence). As the court noted in Chevron, the fabrication of evidence is not protected litigation

activity. But that is exactly what the Complaint alleges that Hughes did here: he caused Dechert

and Goldstein (in New York) to make false statements in court and then, he, Goldstein, and others

fabricated Halabi’s false testimony to cover their tracks. Compl. ¶¶ 102-06, 110; id. Ex. B at lines

57, 86, 87. Hughes was also involved in anonymously mailing previously unreleased stolen Azima

emails to the D.C. court. Id. ¶¶ 123-24. An enclosed mailing list, which indicated that Hughes and

Gerrard were mere recipients, was intended to deceive the D.C. court by masking their role as the

source of the anonymous package so that the Enterprise could inject the hacked documents into

the public domain and influence the press. Id. ¶¶ 120-24. Fraudulent anonymous mailings in bids

to corruptly influence a court cannot constitute protected litigation activity.

               2.      Hughes’ Predicate Acts Were Directed Toward the U.S.

       Hughes argues that his predicate acts of obstruction—particularly the Cyprus and London

meetings—were directed at the U.K., not the United States. Hughes Br. at 13. Yet, the Complaint

alleges that those meetings were designed in part to obstruct the U.S. litigation: from New York,

Goldstein remotely joined the meetings where the Enterprise crafted Halabi’s perjurious testimony

(that he stumbled upon Azima’s hacked documents on the internet). Compl. ¶¶ 102-06, 110.

Goldstein’s attendance shows that developing Halabi’s perjury was relevant to the D.C.

Proceedings—for which she was lead counsel for Dechert. Indeed, by the time the Defendants met

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in Cyprus and London, Goldstein had already introduced into the D.C. record many of the

falsehoods that would eventually form the basis of Halabi’s perjury.8 Subsequent meetings with

Halabi in 2018 and 2019—while the D.C. Proceedings were pending—were an effort by Hughes

and the Enterprise to make “real” the lies fed to the D.C. court through Goldstein.

               3.      Hughes’ Predicate Acts Are Actionable.

       Hughes distorts and attempts to minimize the wire fraud and obstruction allegations against

him as “just” concealment of hacking, which he argues is exempt as a RICO predicate. RICO

clearly contemplates, however, obstruction of justice and witness tampering as RICO predicates.

18 U.S.C. § 1961(1). Hughes’ predicate acts furthered the Enterprise’s ultimate purpose to threaten

and instigate litigation against, and impede litigation brought by, perceived opponents of RAK.

See, e.g., Compl. ¶ 207. Those acts are, therefore, predicate offenses. See United States v. Coiro,

922 F.2d 1009, 1017 (2d Cir. 1991) (“activities designed to prevent detection and prosecution of

the organization’s illegal activities were part of a consistent pattern that was likely to continue for

the indefinite future” and therefore part of the RICO conspiracy); see also Bd. of Mgrs. of Trump

Tower at City Ctr. Condo. by Neiditch v. Palazzolo, 346 F. Supp. 3d 432, 460 n.1 (S.D.N.Y. 2018)

(knowingly withholding information was an act of concealment allegedly “designed to prevent

detection and prosecution of the organization’s illegal activities, and [was] part of a “consistent

pattern, such that [it was] done in furtherance of the main criminal objectives of conspiracy”).

       As described above, see supra pp. 2-6, 11-12, Hughes’ acts of wire fraud and obstruction

were designed to launch a new offensive against Plaintiffs in order to further embroil them in


8 See id. Ex. B at line 57 (in the D.C. Proceedings, Goldstein representing that Hughes “attached
the [hacked] documents” to demand letter and said that “they had been ‘obtained . . . via publically
[sic] available internet sources.’”); id. Ex. B at line 86 (Goldstein representing that Azima’s stolen
documents were on “publicly available links”), id. Ex. B at line 87 (Goldstein representing that a
“consultant” had “identified . . . Azima’s documents that were available for download”).

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litigation and drive up legal fees, as well as to protect the Enterprise. Compl. ¶ 84. Just as in

Chevron, obstruction of the D.C. Proceedings permitted the Enterprise to further damage Azima

and to obtain a multi-million-dollar U.K. judgment against him. Id. ¶ 89.

       Hughes relies primarily on Democratic National Committee v. Russian Federation

(“DNC”), which holds that acts of concealment may constitute predicate offenses for a civil RICO

claim. 392 F. Supp. 3d 410, 443-44 (S.D.N.Y. 2023) (quoting Grunewald v. United States, 353

U.S. 391, 405 (1957), for the proposition that “acts of concealment done in furtherance of the main

criminal objectives of the conspiracy” are part of the conspiracy.). DNC is inapposite because the

acts of concealment there were completed after the central objectives of the conspiracy had been

attained, for the sole purpose of covering up the crime, and were not therefore part of the pattern

of racketeering activity. Id. at 444 n.29. Here, the obstruction was part of the Enterprise’s plan to

harm Plaintiffs.9

       In addition, the wire fraud predicates satisfy the particularity requirements of Rule 9(b).

Cf. Hughes Br. at 14. The Complaint alleges that Hughes used the U.S. wires to: transmit to Azima

a fraudulent demand letter attached to which were Azima’s own stolen documents (Compl. ¶¶ 69-

71); communicate false statements to Goldstein, who, also using the U.S. wires, transmitted those

false statements to the courts (id. ¶¶ 94-96, 98); and meet virtually with Goldstein to develop

Halabi’s perjurious testimony (id. ¶¶ 91, 102-06, 192). And, as in the case cited by Hughes, the

Complaint here “contains a chart listing [hundreds of] different mailings [and wires] said to contain



9 Hughes’ assertion that “the money laundering claim against Mr. Hughes is non-existent,” Hughes
Br. at 14, is incorrect. Hughes used his position controlling the RAK representation (and its funds)
to supervise co-conspirators who laundered millions to finance hacking and obstruction of justice.
See Compl. ¶¶ 17, 55-56, 106 & n.8, 185, 240, Ex. B at line 90. The payments represent the
proceeds of unlawful activity transferred with the intent to promote the carrying on of that unlawful
activity. See 18 U.S.C. §§ 1956(a)(1)(A), (a)(2)(A).

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fraudulent representations, along with the dates of these mailings and cross-references to the

paragraphs of the complaint in which the mailings are further discussed.” Moore v. PaineWebber,

Inc., 189 F.3d 165 (2d Cir. 1999); see Compl. Ex. B at lines 48-51, 57, 83, 87, 88, 92, 119.10

        B.      Hughes Participated in the Operation and Management of the Enterprise.

        The Second Circuit has held that the “operation and management” test adopted by the

Supreme Court in Reves v. Ernst & Young, 507 U.S. 170, 185 (1993), the key case upon which

Hughes relies, see Hughes Br. at 15, is a “relatively low hurdle for plaintiffs to clear, . . . especially

at the pleading stage”; plaintiffs need only show that a defendant played “some part in directing

the enterprise’s affairs.” D’Addario v. D’Addario, 901 F.3d 80, 103-04 (2d Cir. 2018) (citation

omitted). “[D]iscretionary authority in carrying out the instructions of the [enterprise’s] principals”

alone is sufficient to satisfy the “operation or management” requirement. Chevron, 974 F. Supp.

2d at 576. And a defendant’s active assistance in carrying out schemes devised by the enterprise’s

mastermind also meets the test. See D’Addario, 901 F.3d at 104 (individual defendants participated

in mastermind-defendant’s operation and management of enterprise by actively helping him loot

estate); see also Baisch v. Gallina, 346 F.3d 366, 376 (2d Cir. 2003) (defendant participated in the

operation and management of enterprise by, inter alia, recruiting financing for enterprise, issuing

fraudulent insurance certificates, and concealing deceptive payroll practices).

        The Complaint alleges that Hughes held a leadership role in the Enterprise, particularly its

scheme of obstruction. The Complaint alleges that Hughes was the first to deploy the false story

of “discovering” Azima’s stolen records on the internet as part of his effort to seek a large payment



10 Hughes repeats Defendants’ argument from their Omnibus Motion to Dismiss that dismissal of
substantive RICO violations requires that the RICO conspiracy claims against him be dismissed
as well. As Plaintiffs argue in the Omnibus Opposition this is wrong as a matter of law. Omnibus
Opp’n at 58.

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from Azima. See Compl. Ex. B at line 57. Hughes then directed Goldstein and others in repeating

the false story throughout the D.C. Proceedings. See id. Ex. B at line 50 (Dechert partner taking

direction from Hughes in correspondence with Azima’s counsel on the Enterprise’s false story);

id. ¶ 99 (Goldstein taking direction from and copying Hughes in correspondence with Azima’s

counsel on the Enterprise’s false story); id. ¶ 98 (coordinating with Goldstein to file false witness

statements about Azima’s stolen documents and the status of the D.C. Proceedings). Hughes also

gave commands to the Enterprise’s hacking co-conspirators during the creation of Halabi’s false

testimony. See id. Ex. B at line 90 (instructing co-conspirator Stuart Page to provide documents to

co-conspirator Eitan Arusy for use at meeting in Cyprus to craft Halabi’s perjury).

       Hughes argues that a lawyer’s knowing concealment of an enterprise’s fraud is not

“operation or management.” See Hughes’ Br. at 15 (citing Madanes v. Madanes, 981 F. Supp. 241,

256 (S.D.N.Y. 1997)). But the Complaint alleges Hughes actively crafted perjury to deploy in the

D.C. Proceedings through Goldstein in New York—among other affirmative acts of fraud. Compl.

¶¶ 102, 104, 106. Even under Hughes’ view that suborning and conspiring to suborn perjury is

merely “concealment,” the Second Circuit has held that any assistance necessary for another RICO

defendant’s own operation and management of the enterprise is sufficient to find that the assisting

party has also operated and managed the Enterprise. D’Addario, 901 F.3d at 104. Hughes directly

assisted Gerrard’s operation and management of the Enterprise’s obstruction of the D.C.

Proceedings by helping Gerrard manage false statements being injected into the proceedings by

co-conspirators like Goldstein. See Compl. ¶¶ 93, 99, 114, 118-19 (Goldstein copying both Gerrard

and Hughes on fraud-laden emails to inject the false discovery story into D.C. Proceedings).

                                         CONCLUSION

       Plaintiffs respectfully request that the Court deny this Motion to Dismiss in its entirety.



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       New York, New York

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